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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


Ypsilanti Township Citizens for
Responsible Government,

       Plaintiff,
                                               Civil Case No. 22-10614
v.

Jocelyn Benson, in her official                Sean F. Cox
capacity as Secretary of State of              United States District Court Judge
Michigan, et al.,

      Defendants.
______________________________/

                        ORDER REGARDING PENDING MOTIONS

       On March 22, 2022, Plaintiff Ypsilanti Township Citizens for Responsible Government,

ballot question committee (“Plaintiff”) filed this action against Defendants Jocelyn Benson, in

her official capacity as Secretary of State of Michigan, the Charter Township of Ypsilanti (“the

Township”), and Heather Jarrell Roe (“Roe”), in her official capacity as the Ypsilanti Township

Clerk. Plaintiff’s “Complaint For Declaratory And Injunctive Relief” (ECF No. 1) asserts one

count, “Violation Of First And Fourteenth Amendments To The United States.”

       Plaintiff’s complaint challenges the constitutionality of Mich. Comp. Laws §

125.3402(2), which requires a township resident who wants to submit a zoning ordinance to a

vote by the township to file a petition with a required number of signatures. Plaintiff filed a

notice of intent to file a petition and states that the number of signatures required here is 3,588

signatures. Plaintiff contends the statute is unconstitutional because, in practice, the signature

requirement is nearly impossible to meet and, therefore, places a severe burden on Plaintiff’s



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First and Fourteenth Amendment rights. Plaintiff seeks a declaration that the signature

requirement is unconstitutional.

       On March 23, 2022, Plaintiff filed an Ex Parte Motion for Preliminary Injunction &

Temporary Restraining Order and an Ex Parte Motion to Expedite Consideration of Plaintiff’s

Motion for Preliminary Injunction & Temporary Restraining Order. (ECF Nos. 6 & 7). In these

filings, Plaintiff asked this Court to issue a preliminary injunction or temporary restraining order

in this case on an ex parte basis. That same day, this Court issued an order declining to issue

injunctive relief on an ex parte basis.

       This Court then held a Status Conference with counsel to discuss the pending Motion for

Preliminary Injunction. At that conference, the parties advised the Court that Plaintiff’s Motion

for Preliminary Injunction is likely moot because, after filing this action and its motion, Plaintiff

submitted a petition to the Township with more than 7,000 signatures. The parties agreed to

postpone briefing on the Motion for Preliminary Injunction and that the Court would hold

another status conference on April 11, 2022.

       At the April 11th Status Conference, Plaintiff’s counsel stated that Plaintiff is unsure if it

intends to pursue preliminary injunctive relief in this case. Defense counsel advised that the

Township and Roe intended to file a Motion to Dismiss this action and that motion was filed

later that same day, on April 11, 2022.

       The Court hereby ORDERS that Plaintiff’s original Motion for Preliminary Injunction

(ECF No. 6) is DENIED WITHOUT PREJUDICE.

       IT IS FURTHER ORDERED that, if Plaintiff wishes to pursue a preliminary

injunction, she shall file a new Motion for Preliminary Injunction by April 18, 2022. That

motion shall address all relevant facts that have occurred since March 23, 2022, shall specify the



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injunctive relief that Plaintiff is seeking, and attach, as an exhibit, a proposed preliminary

injunction. If Plaintiff files such a motion, Defendants’ response briefs shall be filed by April

28, 2022, and any reply brief shall be filed by Plaintiff no later than May 2, 2022.1

       IT IS FURTHER ORDERED that Plaintiff’s response to the Motion to Dismiss filed by

the Township and Roe (ECF No. 18) shall be filed by May 2, 2022, and that any reply brief by

the Township and Roe shall be filed by May 16, 2022.

       IT IS SO ORDERED.

                                               s/Sean F. Cox
                                               Sean F. Cox
                                               United States District Judge

Dated: April 12, 2022




       1
        In light of that expedited briefing schedule, the Court is terminating ECF No. 7.

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